          Case 3:11-cr-05746-DMS                         Document 107                  Filed 04/05/12             PageID.347              Page 1 of 2


    'AD 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
               Sheet 1




                                              UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                        v.                                           (For Offenses Committed On or ~er November 1, I ~~oP"'~ '.

                         JOSE MOYA-GUZMAN (5)                                        Case Number: lICR5746-DMS
                                                                                     Jack J Boltax CJA
                                                                                     Defendant's Attorney
    REGISTRATION NO. 29213298
    o
    THE DEFENDANT:
    181 pleaded guilty to count(s) _4_0_f_th_e_I_n_fo_rm_a_ti_on_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    o     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty ofsuch count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(s)
8 USC 1326                            DEPORTED ALIEN FOUND IN THE UNITED STATES                                                             4




        The defendant is sentenced as provided in pages 2 through                2          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o   The defendant has been found not guilty on count(s)
 o Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _----------------------------------------------
                                        _ _ _ _ _ _ is 0 areD dismissed on the motion of the United States.
 181 Assessment: $100.00.


 181 Fine waived.                                   o Forfeiture pursuant to order filed --------- , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               APRIL 5, 2012




                                                                              HON. DANA M. SABRAW
                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                                lICR5746-DMS
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AO 245B (CASD)(Rev. 12111) Judgment in a Criminal Case
            Sheet 2 - Imprisonment

                                                                                           Judgment - Page ___2__ of         2
DEFENDANT: JOSE MOY A-GUZMAN (5)
CASE NUMBER: llCRS746-DMS
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TWENTY-FOUR (24) MONTHS.




    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o   The court makes the following recommendations to the Bureau of Prisons:




    o   The defendant is remanded to the custody of the United States Marshal.

    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.     on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before -------------------------------------------------------------------------
          o as notified by the United States MarshaL
          o as notified by the Probation or Pretrial Services Office.
                                                             RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at ________________________ , with a certified copy of this judgment.


                                                                                         UNITED STATES MARSHAL

                                                                   By _______________________________________
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                   llCR5746-DMS
